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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

UNITED STATES OF AMERICA

v.                                                   CRIMINAL NO. 3:19-CR-083-M

RUEL M. HAMILTON


                      GOVERNMENT’S WRITTEN STATEMENT
                        PURSUANT TO PRETRIAL ORDER

       The government files this written statement pursuant to the Court’s pretrial order,

specifically paragraph 7(e).

1.      Estimated Length of Trial

       The government previously informed the Court that it estimates that its case-in-

chief, subject to reasonable cross-examination by the defense, will last five trial days.

That estimate remains valid.

2.     Plea Negotiations

       While the parties have in good faith discussed the potential of a plea agreement at

earlier points in the case, the parties are not currently in active plea negotiations and they

do not anticipate this case being resolved by plea bargain.

3.     Scheduling Issues

       The government has no scheduling issues to raise with the Court at this time.

4.     Additional Matters

       The government has in its possession the Presentence Investigation Report for

Carolyn Davis in this case and the Presentence Investigation Report and Addendum for


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Dwaine Caraway in the Dallas County Schools case (also in this Court). At the pretrial

conference, the government will seek permission to allow defense counsel to review

these reports to the extent that they implicate the government’s discovery obligations.




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                                          Respectfully submitted,


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                                  CERTIFICATE OF SERVICE

       I hereby certify that on October 26, 2020, I electronically filed the foregoing

document with the Clerk of Court for the United States District Court, Northern District

of Texas, using the electronic case filing system of the Court. The electronic case filing

system sent a “Notice of Electronic Filing” to all attorneys who have consented in writing

to accept this Notice as service of this document.


                                          /s/ Andrew Wirmani
                                          Andrew O. Wirmani
                                          Assistant United States Attorney




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